                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


 AMERICAN ASSOCIATION OF
 UNIVERSITY PROFESSORS–HARVARD
 FACULTY CHAPTER et al.,                               Case No. 1:25-CV-10910-ADB

                          Plaintiffs,

                   v.

 UNITED STATES DEPARTMENT OF
 JUSTICE et al.,

                          Defendants.




       DECLARATION OF DANIEL H. SILVERMAN IN SUPPORT OF PLAINTIFFS’
                    MOTION FOR SUMMARY JUDGMENT

I, Daniel H. Silverman, declare as follows:

       1.         I am a Partner at the law firm Cohen Milstein Sellers & Toll PLLC and am duly

licensed to practice in the State of Massachusetts (BBO# 704387).

       2.         I am counsel for Plaintiffs American Association of University Professors

(“AAUP”), American Association of University Professors–Harvard Faculty Chapter (“AAUP–

Harvard”), and International Union, United Automobile, Aerospace and Agricultural Implement

Workers of America (“UAW”) in the above-captioned litigation

       3.         I submit this declaration in support of Plaintiffs’ Motion for Summary Judgment,

filed herewith.

       4.         Attached hereto as Exhibit 1 is a true and correct copy of a press release issued by

the Department of Justice’s Office of Public Affairs entitled “Justice Department Announces

Formation of Task Force to Combat Anti-Semitism” and dated February 3, 2025.


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       5.     Attached hereto as Exhibit 2 is a true and correct copy of a press release issued by

the General Services Administration entitled “HHS, ED, and GSA announce additional measures

to end anti-Semitic harassment on college campuses” and dated March 3, 2025.

       6.      Attached hereto as Exhibit 3 is a true and correct copy of a post on Truth Social

by Donald J. Trump dated March 4, 2025.

       7.     Attached hereto as Exhibit 4 is a true and correct copy of a press release by the

General Services Administration entitled “DOJ, HHS, ED, and GSA announce initial cancellation

of grants and contracts to Columbia University worth $400 million” and dated March 7, 2025.

       8.     Attached hereto as Exhibit 5 is a true and correct copy of a video recording entitled

“Leo Terrell with Mark Levin- How we’ll defeat antisemitism in the USA” as downloaded from

YouTube’s website at https://www.youtube.com/watch?v=NOFIKRr2Sco.

       9.     Attached hereto as Exhibit 6 is a true and correct copy of a press release by the

U.S. Department of Education entitled “U.S. Department of Education’s Office for Civil Rights

Sends Letters to 60 Universities Under Investigation for Antisemitic Discrimination and

Harassment” and dated March 10, 2025.

       10.    Attached hereto as Exhibit 7 is a true and correct copy of an audio recording of the

March 19, 2025, interview of Leo Terrell on the Hugh Hewitt Show as downloaded from

https://eadn-wc05-2440449.nxedge.io/wp-content/uploads/2025/03/03-19hhs-terrell.mp3.

       11.    Attached hereto as Exhibit 8 is a true and correct copy of a post on Truth Social by

Donald J. Trump dated April 15, 2025.

       12.    Attached hereto as Exhibit 9 is a true and correct copy of a post on Truth Social by

Donald J. Trump dated April 16, 2025.




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       13.    Attached hereto as Exhibit 10 is a true and correct copy of a post on Truth Social

by Donald J. Trump dated April 24, 2025.

       14.    Attached hereto as Exhibit 11 is a true and correct copy of a post on Truth Social

by Donald J. Trump dated May 2, 2025.

       15.    Attached hereto as Exhibit 12 is a true and correct copy of a video recording

entitled “Education Secretary Linda McMahon to Harvard: Obey the law and you can be eligible

for      funding”       as      downloaded         from        YouTube’s         website        at

https://www.youtube.com/watch?v=bb6YJUHMqc4.

       16.    Attached hereto as Exhibit 13 is a true and correct copy of a video recording

entitled “Watch CNBC's full interview with Education Secretary Linda McMahon” as downloaded

from YouTube’s website at https://www.youtube.com/watch?v=h3KHwRH1DYQ.

       17.    Attached hereto as Exhibit 14 is a true and correct copy of the declaration of

Kirsten Weld executed on June 2, 2025.

       18.    Attached hereto as Exhibit 15 is a true and correct copy of the declaration of Todd

Wolfson executed on May 30, 2025.

       19.    Attached hereto as Exhibit 16 is a true and correct copy of the declaration of John

Quackenbush executed on June 2, 2025.

       20.    Attached hereto as Exhibit 17 is a true and correct copy of the declaration of

Caroline Light executed on June 1, 2025.

       21.    Attached hereto as Exhibit 18 is a true and correct copy of the declaration of Molly

Forrest Franke executed on May 30, 2025.

       22.    Attached hereto as Exhibit 19 is a true and correct copy of the declaration of

Meredith Rosenthal executed on June 2, 2025.



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       23.    Attached hereto as Exhibit 20 is a true and correct copy of the declaration of Paige

Williams executed on June 2, 2025.

       24.    Attached hereto as Exhibit 21 is a true and correct copy of the declaration of Shoba

Ramanadhan executed on June 2, 2025.

       25.    Attached hereto as Exhibit 22 is a true and correct copy of the declaration of Scott

Delaney executed on June 1, 2025.

       26.    Attached hereto as Exhibit 23 is a true and correct copy of the declaration of Walter

Willett executed on May 30, 2025.

       27.    Attached hereto as Exhibit 24 is a true and correct copy of the declaration of Sarah

Fortune executed on May 30, 2025.

       28.    Attached hereto as Exhibit 25 is a true and correct copy of the declaration of

Donald Ingber executed on May 30, 2025.

       29.    Attached hereto as Exhibit 26 is a true and correct copy of the declaration of Bence

Ölveczky executed on May 29, 2025.

       30.    Attached hereto as Exhibit 27 is a true and correct copy of the declaration of

Victoria Jenkins executed on May 30, 2025.

       31.    Attached hereto as Exhibit 28 is a true and correct copy of the declaration of

Jennifer Chen executed on May 29, 2025.

       32.    Attached hereto as Exhibit 29 is a true and correct copy of the declaration of of

Beau Schaeffer executed on May 30, 2025.

       33.    Attached hereto as Exhibit 30 is a true and correct copy of the declaration of Adam

Sychla executed on May 30, 2025.




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       34.     Attached hereto as Exhibit 31 is a true and correct copy of the declaration of Kelsey

Tyssowski executed on May 30, 2025.

       35.     Attached hereto as Exhibit 32 is a true and correct copy of the declaration of Trudy

Merritt executed on May 30, 2025.

       36.     Attached hereto as Exhibit 33 is a true and correct copy of the declaration of Jules

Riegel executed on May 31, 2025.

       37.     Attached hereto as Exhibit 34 is a true and correct copy of the declaration of Neal

Sweeney executed on June 1, 2025.

       38.     Attached hereto as Exhibit 35 is filed under seal pursuant to the Court’s order

granting Plaintiffs’ Motion to Seal, Dkt. 72.

       39.     Attached hereto as Exhibit 36 is filed under seal pursuant to the Court’s order

granting Plaintiffs’ Motion to Seal, Dkt. 72.



        I declare under the penalty of perjury that the foregoing is true and correct to the best of

my knowledge, information, and belief.



Executed on this 2nd day of June, 2025, in Boston, Massachusetts.

                                                     Signed: /s/ Daniel H. Silverman
                                                     Daniel H. Silverman (BBO # 704387)
                                                     COHEN MILSTEIN SELLERS & TOLL PLLC
                                                     769 Centre Street
                                                     Suite 207
                                                     Boston, MA 02130
                                                     (617) 858-1990




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